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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 09-cr-11-PB

Joseph Delgado, et al.


                               O R D E R

     Defendant Rupert Pamphile, through counsel, has moved to

continue the trial scheduled for September 1, 2009, citing newly

appointed counsel and the need for additional time to finalize

discovery and prepare for trial.      The government does not object

to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from September 1, 2009 to November 3, 2009.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The court will hold a final pretrial conference on October

23, 2009 at 3:30 p.m.

      No further continuances.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge
August 25, 2009

cc:   Tony Soltani, Esq.
      John Pendleton, Esq.
      Ray Raimo, Esq.
      Terry Ollila, Esq.
      United States Probation
      United States Marshal




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